                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
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UNITED STATES OF AMERICA,           )
                                    )
       Plaintiff,                   )       Case No. 23-cr-20191-MSN
                                    )
      v.                            )
                                    )
EMMITT MARTIN III,                  )
TADARRIUS BEAN,                     )
DEMETRIUS HALEY,                    )
and JUSTIN SMITH,                   )
                                    )
      Defendants.                   )
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                                   ORDER
______________________________________________________________________________

       On August 5, 2024, the Court held Pretrial Conference at which the Court orally ruled on

several Motions that were pending in this matter following discussion with parties. For the sake

of clarity of the record, the Court memorializes those rulings here as follows:

       (1) The Motion to Add Questions (ECF No. 431) is GRANTED IN PART and DENIED

           IN PART.

       (2) The Motion in Limine Regarding Photos of Tyre Nichols (ECF No. 340) is DENIED.

       (3) The Motion in Limine to Bar Improper Argument (ECF No. 342) is GRANTED with

           the clarification that Counsel are still required to object as necessary at trial to preserve

           issues for appeal.

       (4) The Renewed Motion for Enright Hearing (ECF No. 377) is DENIED.

       (5) The Motion in Limine to Preclude Improper Reference to Defendants’ Good Character

           (ECF No. 319) is GRANTED insofar as it relates to commendations, awards, etc…
       (6) The Motion for Attorney-Led Voir Dire and Extra Peremptory Challenges (ECF No.

           231), is DENIED.1

       (7) The Court HOLDS IN ABEYANCE the following Motions:

               (a) Motion in Limine on Admissibility of Testimonial Statements by Defendants

                   Bean and Smith (ECF No. 313),

               (b) Motion in Limine on Nontestimonial Statements by Defendants Bean and Smith

                  (ECF No. 315), and

               (c) Motion in Limine to Admit Video Evidence (ECF No. 331).

       (7) The following Motions are TAKEN UNDER ADVISEMENT:

               (a) Motion in Limine to Preclude Reference to Possible Punishment of Defendant

                   or Cooperating Witnesses (ECF No. 299),

               (b) Motion in Limine to Introduce Information About Possible Penalties at Trial

                  (ECF No. 326),

               (c) Motion in Limine Regarding Ultimate Issue Testimony (ECF No. 332).

       IT IS SO ORDERED, this 22nd day of August, 2024.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE




       1
         The Court advised that it would seat four (4) alternate jurors and allow two (2) additional
peremptory challenges to each side to be used jointly. The Court also indicated that it might
consider allowing additional peremptory challenges in the future and will entertain requests from
Counsel to ask questions themselves at sidebar during jury selection.
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